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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 06-158 (ADC)

 JOSE JOEL JIMENEZ-RAMOS (1)
      Defendant



                                          ORDER

       Before the Court is an unopposed Report and Recommendation issued by Chief

Magistrate-Judge Justo Arenas on October 19, 2006. (Docket No. 327.) In said Report and

Recommendation the Chief Magistrate-Judge recommends that:             defendant José Joel

Jiménez-Ramos be adjudged guilty of the offenses charged in Count I (21 U.S.C. §§ 841(a)(1),

846, and 860) inasmuch as, his plea of guilty was intelligently, knowingly and voluntarily

entered.

       Neither party has filed objections to the Chief Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby

APPROVES and ADOPTS the Chief Magistrate-Judge’s Report and Recommendation in its

entirety.
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       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.

       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report on October 13, 2006. The sentencing hearing is set for February 13,

2007 at 2:00 p.m.

       SO ORDERED.

       At San Juan, Puerto Rico, this 6 th day of November, 2006.




                                                S/AIDA M. DELGADO-COLON
                                                District Judge
